                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )
                                                      )
 v.                                                   )    No.      3:10-CR-56.3
                                                      )             REEVES/GUYTON
 BRIAN KEITH REDSTAR WALKER,                          )
                                                      )
                Defendant.                            )


                             MEMORANDUM OPINION AND ORDER

        Before the Court is Brian Walker’s motion to reduce his sentence under Amendment 782

 to the United States Sentencing Guidelines. He asks the Court to lower his prison sentence from

 168 months to 140. The Government agrees that Walker is eligible for a sentence reduction, and

 it defers to the Court to decide whether to Grant Walker’s motion and how much to reduce his

 sentence. Probation recommends that Walker’s sentence be lowered to 140 months.

        Walker’s sentence should be lowered to 140 months. In deciding whether a sentence

 should be reduced, the Court follows a three-step test. First, the Court must determine if the pris-

 oner is eligible for a sentence reduction. Dillon v. United States, 560 U.S. 817, 826 (2010). If so,

 then the Court looks to whether a reduction is warranted. Id. If a reduction is warranted, the Court

 then turns to how much of a reduction should be granted. See id.

        Walker is eligible for a sentence reduction. If a prisoner is sentenced under a Sentencing

 Guidelines that is later amended, then he can have his sentence recalculated if the amendment is

 made retroactive. Walker was sentenced on September 19, 2011. Amendment 782 took effect on

 November 1, 2014. United States v. Taylor, 815 F.3d 248, 249 (6th Cir. 2016). Amendment 782


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 was made retroactive by Amendment 788. Id. Thus, Amendment 782 applies to Walker’s sentence

 if it applies to his offense.

         Amendment 782 applies to Walker’s offense. Amendment 782 lowered the drug-crime

 offense levels by two points. Walker pleaded guilty to conspiring to distribute, and possessing

 with intent to distribute, at least 50 grams of crack, in violation of 21 U.S.C. §§ 846, 841(a)(1),

 and 841(b)(1)(A). For purposes of sentencing, he admitted to possessing 840g–2.8kg of crack.

 When Walker was sentenced, that much crack corresponded to a base offense level of 34. U.S.

 SENTENCING GUIDELINES MANUAL § 2D1.1(c)(3) (2010). Amendment 782 lowered the base of-

 fense level to 32. See U.S. SENTENCING GUIDELINES MANUAL § 2D1.1(c)(4) (2016). Amendment

 782, then, lowered Walker’s base offense level by two points. He is eligible for a sentence reduc-

 tion. His sentence will be lowered if a reduction is warranted.

         A reduction is warranted. This inquiry is guided by any relevant factors set out in 18 U.S.C.

 § 3553(a). See 18 U.S.C. § 3582(c)(2). Walker notes that he has taken several life-skills courses,

 and he earned his GED in 2013. See id. § 3553(a)(1)(D). He has also enrolled in the nonresidential

 drug-abuse treatment program. See id. § 3553(a)(1) (characteristics of the defendant). And while

 Walker received several infractions in 2013, Probation still recommends that Walker’s sentenced

 be lowered to 140 months. Walker is entitled to a sentence reduction. The final issue is how much

 to reduce his sentence.

         A reduction from 168 months to 140 is appropriate. When Walker was sentenced, his

 criminal-history category was V, and his final offense level was 31. This corresponded to a Sen-

 tencing Guidelines range of 168–210 months. Walker was sentenced to 168 months. Amendment

 782 lowered Walker’s base offense level by 2 points, leading to a new final offense level of 29.

 This corresponds to a Guidelines range of 140–175 months. Walker asks for a revised sentence of



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 140 months, and the Government does not oppose it. Accordingly, Walker’s motion for a sentence

 reduction is GRANTED. His sentence is reduced to 140 months. Walker’s pro se motion for a

 sentence reduction [D. 299] and the Government’s motion to defer ruling on that motion [D. 307]

 are DENIED as moot.

    IT IS SO ORDERED.


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